                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

IN RE: DOLLAR GENERAL CORP.                  )       MDL No. 2709
MOTOR OIL MARKETING AND                      )
SALES PRACTICES LITIGATION                   )       Master Case No. 16-02709-MD-W-GAF
                                             )
THIS PLEADING RELATES TO:                    )
                                             )
ALL ACTIONS                                  )
                                             )


                      ORDER ON PLAINTIFFS’ MOTION FOR
             PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT,
            CERTIFICATION OF SETTLEMENT CLASS, AND OTHER RELIEF

       Upon consideration of Plaintiffs’ Motion for Preliminary Approval of Class Action

Settlement, Certification of Settlement Class, and Other Relief (“Motion for Preliminary

Approval”) (Doc. # 256) brought pursuant to Federal Rules of Civil Procedure 23, it is hereby,

       ORDERED, ADJUDGED AND DECREED that:

       1.      Capitalized terms used in this Order have the same meaning as those defined in the

Parties’ Settlement Agreement, attached as Exhibit 1 to Plaintiffs’ Motion for Preliminary

Approval. (Doc. # 257-1)

       2.      The Court finds that the Settlement Agreement was reached after arm’s length

negotiations between experienced counsel who are familiar with the legal and factual issues of this

case and after substantial factual and legal analyses by the Parties. The terms of the Settlement

Agreement are within the range of reasonableness and accordingly are preliminarily approved a

fair, reasonable, and adequate, subject to further consideration at the Final Approval Hearing.

       3.      For purposes of settlement only, the Court conditionally certifies the following

Settlement Class:



                                                 1

        Case 4:16-md-02709-GAF Document 259 Filed 02/08/21 Page 1 of 9
       All Persons in the United States who, between September 1, 2010 and December
       31, 2017, for personal use and not for resale, purchased Defendants’ DG-branded
       motor oil, DG SAE 10W-30 (SF specification) and/or DG SAE 10W-40 (SF
       specification) for use in vehicles manufactured after 1988, and/or DG SAE 30 (SA
       specification) for use in vehicles manufactured after 1930.

Excluded from the Settlement Class are: (a) Dollar General, its officers, directors, agents, trustees,

corporations, trusts, representatives, employees, successors, assigns, or other Persons or entities

related to or affiliated with Dollar General and/or their officers and/or directors; (b) Judges,

justices, magistrates or judicial officers presiding over this matter and their immediate family

members and staff; (c) Counsel for Plaintiffs in the lawsuits that comprise this MDL and their

employees; and (d) any Settlement Class Member who files a valid, timely Opt-Out request.

       4.      Given the Parties’ Settlement Agreement and Plaintiffs’ Motion for Preliminary

Approval, with respect to the Settlement Class, the Court preliminarily finds that Rule 23’s

requirements for class certification, numerosity, commonality, typicality, and adequacy of

representation have been met, that common issues predominate over questions affecting only

individual members of the Settlement Class, and resolution of the claims in the Action by way of

settlement is superior to other available means for the fair and efficient adjudication of the claims

of the Settlement Class.

       5.      The Court appoints Plaintiffs Robert Oren, Roberto Vega, Allen Brown, Bradford

Barfoot, Gerardo Solis, Nicholas Meyer, John Foppe, John McCormick, Bruce Gooel, Scott

Sheehy, Janine Harvey, William Flinn, Kevin Gadson, Miriam Fruhling, Robin Preas, James

Taschner, Jason Wood, Roger Barrows, Brandon Raab, and Seit Alla as Class Representatives of

the Settlement Class.

       6.      The Court appoints the following Plaintiffs’ counsel as Class Counsel for the

Settlement Class:



                                                  2

        Case 4:16-md-02709-GAF Document 259 Filed 02/08/21 Page 2 of 9
 Lead Class Counsel                   Liaison Counsel                   Mitchell Breit
 Allan Kanner                         Kenneth B. McClain                SIMMONS HANLY
 Cynthia G. St. Amant                 Kevin D. Stanley                  CONROY
 KANNER & WHITELEY, LLC               HUMPHREY FARRINGTON
                                      & MCCLAIN, P.C.

 Esther E. Berezofsky                 Gillian Wade                      M. Ryan Casey
 Michael J. Quirk                     Sara D. Avila                     THE CASEY LAW FIRM
 MOTLEY RICE, LLC                     Marc Castaneda
                                      MILSTEIN JACKSON
                                      FAIRCHILD & WADE

 David Futscher                       Stephen J. Nolan                  John P. Zuccarini
 FUTSCHER LAW PLLC                    SMITH, GILDEA &                   LAW OFFICES OF JOHN
                                      SCHMIDT, LLC                      P. ZUCCARINI

 Gerald H. Clark                      Shpetim Ademi                     Jed Chronic
 Mark W. Morris                       Mark A. Eldridge                  MASCHKA, RIEDY, RIES
 CLARK LAW FIRM, P.C.                 ADEMI LLP                         & FRENTZ LAW FIRM

 A. Craig Eiland                      Walter Daniels                    Brian Ku
 THE LAW OFFICES OF A.                THE DANIELS LAW FIRM,             Louis Mussman
 CRAIG EILAND, P.C.                   P.C.                              KU & MUSSMAN, P.A.


       7.      The Court approves, as to the form and content, the Notice Plan and forms of Class

Notice, attached to the Settlement Agreement as Exhibit C. In accordance with the Notice Plan,

notice shall consist of: (1) print publication notice; (2) digital notice; and (3) a long form notice

with more detail than the print or digital notices which shall be made available on the Settlement

Website (www.DGmotoroilsettlement.com).

       The Class Notice will apprise members of the Settlement Class of the following, among

other information: the pendency of the Action; a description of the Settlement; that any Settlement

Class Member may object to the Settlement and, if he or she desires, enter an appearance either

personally or through counsel; the dates by which members of the Settlement Class must make a

claim, exclude themselves from the Settlement Class, or object to the Settlement; the address of




                                                 3

        Case 4:16-md-02709-GAF Document 259 Filed 02/08/21 Page 3 of 9
the Settlement Website; and that any judgment whether favorable or unfavorable, will include all

Settlement Class Members.

       Defendants do not have records identifying individual class members, making direct notice

impossible. Notice by publication in Sports Illustrated, Reader’s Digest, National Geographic,

Game Informer, and Time (in a form substantially similar to Exhibit C to the Settlement

Agreement) and targeted digital advertising and sponsored keyword ads in search results that

directs Settlement Class Members to the Settlement Website, including on Google, Facebook, and

Instagram, are reasonably calculated to reach a substantial percentage of Settlement Class

Members, as indicated in the Declaration of Jeanne Finegan, Exhibit 3 to Plaintiffs’ Motion for

Preliminary Approval.

       The Settlement Website must include at least the following: an electronic and printable

copy of the long form class notice (in a form substantially similar to Exhibit C to the Settlement

Agreement), information about the Action and the Settlement, important Court documents, and

electronic and printable Claim Forms (in a form substantially similar to Exhibits A and B to the

Settlement Agreement) which may be submitted online or printed and mailed.

       The Court finds that the procedures described herein and in the Settlement Agreement meet

the requirements of Rule 23 and due process and provide the best notice practicable under the

circumstances.

       8.        The Court appoints Heffler Claims Group as the Settlement Administrator to help

implement the Notice Plan, administer the Settlement, and carry out such other responsibilities as

are provided for in the Settlement Agreement.

       9.        The Court appoints Mark Rapazzini as the Special Master to help administer the

Property Damage Benefits (Tier 3) claims process as provided for in the Settlement Agreement.



                                                4

        Case 4:16-md-02709-GAF Document 259 Filed 02/08/21 Page 4 of 9
       10.     Defendants shall bear all costs and expenses related to the Settlement

administration, including the cost of the Class Notice and publication, and the fees and expenses

of the Settlement Administrator and the Special Master.

       11.     Within 30 days of the date of this Order, the Settlement Administrator shall,

consistent with the Settlement Agreement, establish a toll-free number with a voice recorded, voice

response with frequently asked questions (“FAQs”) and establish the Settlement Website

containing the information required by the Settlement Agreement. Publication notice shall

commence no later than March 10, 2021. Internet notice shall commence no later than March

10, 2021.

       12.     The Court approves the proposed form and content of the Claim Forms (in a form

substantially similar to Exhibits A and B to the Settlement Agreement), as well as the use of an

electronic version in substantially similar form. Any Settlement Class Member who wishes to

receive money from the Settlement shall complete the appropriate Claim Form(s) in accordance

with the instructions therein. The Claim Form for Refund Benefits shall be postmarked or

submitted online to the Settlement Administrator no later than June 8, 2021. The Claim Form for

Property Damage Benefits shall be postmarked or submitted online to the Settlement

Administrator no later than August 23, 2021.

       13.     Any Settlement Class Member wishing to opt out of the Settlement Class must

submit a request for exclusion that includes the person’s name, address, telephone number, and a

statement that the person has elected to be excluded from the Settlement Class, and must be

personally signed by the person requesting exclusion to the Settlement Administrator at: In re

Dollar General Corp., P.O. Box. 559, Warminster, PA 18974-0559. A form for requesting

exclusion shall be available for downloading on the Settlement Website. The request for exclusion



                                                5

        Case 4:16-md-02709-GAF Document 259 Filed 02/08/21 Page 5 of 9
must be postmarked no later than May 10, 2021. Requests for exclusion signed only by counsel

or requests for exclusion purportedly filed on behalf of groups of persons are prohibited and will

be deemed void.

       Any Settlement Class Member who does not send a completed, signed request for

exclusion to the Settlement Administrator postmarked before the Opt-Out Deadline will be deemed

a Settlement Class Member for all purposes and will be bound by all further orders of Court in this

Action and by the terms of the Settlement, if finally approved by the Court. All persons who submit

valid and timely requests for exclusions shall not be bound by the Settlement Agreement or the

Final Order and Judgment, shall not be considered Settlement Class Members, and shall have no

rights under the Settlement. The Parties have agreed that Defendants may terminate the Settlement

Agreement without further obligation if more than 150 members of the Settlement Class submit

timely and valid requests for exclusions. Class Counsel shall file a sealed list of all persons who

opted-out of the Settlement Class in conjunction with their motion for final approval.

       14.      Any Settlement Class Member who wishes to object to the terms of the Settlement

must file a written objection with the Court and serve it on Class Counsel and Defendants’ Counsel

no later than May 10, 2021. The Court will only consider those objections received by the Court

and sent to Class Counsel and Defendants’ Counsel on or before the Objection Deadline.

       An objection must be in writing and contain the following:

             a. A reference at the beginning to this case, In re: Dollar General Corp. Motor Oil
                Marketing and Sales Practices Litig., Case No. 16-02709-MD-W-GAF, filed in the
                United States District Court for the Western District of Missouri;

             b. The name, address, telephone number, and, if available, the email address of the
                Person objecting, and if represented by counsel, of his/her counsel;

             c. A statement that the objector has reviewed the definition of the Settlement Class
                and that he or she is a Settlement Class Member;



                                                6

        Case 4:16-md-02709-GAF Document 259 Filed 02/08/21 Page 6 of 9
           d. The type of DG Auto motor oil purchased and the date (or approximate date) and
              location (city and state) of the objector’s purchase of DG Auto motor oil;

           e. A written statement of all grounds for the Objection, accompanied by any legal
              support for such Objection;

           f. Whether he/she intends to appear at the Final Approval Hearing, either with or
              without counsel;

           g. All information required by the Claim Form;

           h. A detailed description of any and all evidence that he/she may offer at the Final
              Approval Hearing, including photocopies of any and all exhibits which he/she may
              introduce at the Final Approval Hearing, and the names and address of any
              witnesses expected to testify;

           i. A detailed list of any other objections submitted by the Settlement Class Member,
              or his/her counsel, to any class actions submitted in any court, whether state or
              otherwise, in the United States in the previous five (5) years. If the Settlement
              Class Member or his/her counsel has not objected to any other class action
              settlement in any court in the United States in the previous five (5) years, he/she
              shall affirmatively state so in the written materials provided in connection with the
              Objection to this Settlement; and

           j. The signature of the objecting Settlement Class Member.

The written objection must be filed with the Clerk of Court with copies sent to the following Class

Counsel and Defendant’s Counsel:

                 Class Counsel:                           Defendants’ Counsel:
                 Cynthia St. Amant, Esq.                  R. Trent Taylor, Esq.
                 Kanner & Whiteley, LLC                   McGuire Woods LLP
                 701 Camp Street                          Gateway Plaza
                 New Orleans, LA 70130                    800 East Canal Street
                 c.stamant@kanner-law.com                 Richmond, VA 23219
                                                          rtaylor@mcguirewoods.com

       Any Settlement Class Member who does not make an objection in the manner provided

herein shall be deemed to have waived such objection and shall forever be foreclosed from making

any objection to the fairness, adequacy, or reasonableness of the Settlement Agreement; the




                                                7

        Case 4:16-md-02709-GAF Document 259 Filed 02/08/21 Page 7 of 9
payment of Class Counsel’s attorneys’ fees, costs and expenses, and Service Awards for Class

Representatives; or the Final Approval Order and Judgment.

        15.    Class Counsel shall file their motion seeking an award of attorneys’ fees and costs

and expenses and seeking a Service Award for the Class Representatives on or before April 26,

2021.

        16.    On or before May 18, 2021, Plaintiffs shall move for final approval of the

Settlement.

        17.    The Final Approval Hearing will be held before this Court on June 22, 2021, at

10:00 a.m., at the United States District Courthouse in Courtroom No. 8A in order to consider,

among other things, (a) whether the Settlement should be finally approved as fair, reasonable, and

adequate; (b) whether the Settlement Class should be finally certified; (c) whether Class Counsel’s

request for an award of attorneys’ fees, costs, and expenses should be approved; (d) whether the

requested Service Awards to the Class Representatives should be approved; (e) whether entry of

the Final Order and Judgment, in the form submitted by the Parties with the Settlement Agreement,

should be entered. The Final Approval Hearing may be rescheduled or continued. Class Counsel

shall be responsible for communicating any changes in the Final Approval Hearing to the

Settlement Class by ensuring that the information is posted on the Settlement Website by the

Settlement Administrator.

        18.    The Action shall remain stayed pending the settlement proceedings and further

Orders of the Court.

        19.    If the proposed Settlement does not become final, this Order shall be null and void

and the Action will proceed as if there had been no Settlement.




                                                8

        Case 4:16-md-02709-GAF Document 259 Filed 02/08/21 Page 8 of 9
         20.    Pertinent dates and deadlines imposed by this Order are summarized in the table

below:

                              Event/Deadline                                     Date

          Deadline to commence publication notice                     March 10, 2021

          Deadline to commence internet notice                        March 10, 2021

          Deadline for Claim Forms for Refund Benefits to be          June 8, 2021
          postmarked or submitted online
          Deadline for Claim Forms for Property Damage Benefits       August 23, 2021
          to be postmarked or submitted online
          Deadline for Requests for Exclusion to be postmarked        May 10, 2021
          Deadline for Objections to be filed with the Court and      May 10, 2021
          served upon Class Counsel and Defendants’ Counsel
          Deadline for Class Counsel to file a Motion seeking an      April 26, 2021
          award of attorney’s fees and costs and expenses
          Deadline for Plaintiffs to move for final approval of the   May 18, 2021
          Settlement
          Final Approval Hearing                                      June 22, 2021, 10:00 a.m.


IT IS SO ORDERED.

                                                     s/ Gary A. Fenner
DATED: February 8, 2021                              GARY A. FENNER, JUDGE
                                                     UNITED STATES DISTRICT COURT




                                                 9

         Case 4:16-md-02709-GAF Document 259 Filed 02/08/21 Page 9 of 9
